UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                                     :
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                      - v. -                                  :
                                                              :   23 Cr. 113 (GHW)
 JAMES KELLY,                                                 :
                                                              :
                       Defendant.                             :
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                            DEFENDANT JAMES KELLY’S REPLY
                      IN FURTHER SUPPORT OF HIS MOTIONS IN LIMINE




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                                          ARGUMENT

   I.      Officer Whelan’s In-Court Identification Should be Precluded Because the Out-
           of-Court Identification Procedure Was Unduly Suggestive and Allowing Such
           Evidence Would Usurp the Jury’s Function At Trial.

       The government seeks to introduce evidence of Officer Whelan’s identification of Mr.
Kelly as the person in the stairwell of his own apartment building in January of 2023. For the
reasons set forth below and as stated in the defense motion in limine (ECF No. 46, “Def. Mot. in
Lim.”) and opposition to the government’s motions in limine (ECF No. 57, “Def. Opp.”), such
evidence if admitted to the jury would be unduly prejudicial to Mr. Kelly.

        Officer Whelan, who stopped and then arrested Mr. Kelly in early December 2022, should
not be permitted to offer an in-court identification of Mr. Kelly as the person seen on security
camera video from January 15, 2023. The Due Process Clause protects accused individuals from
unreliable identifications resulting from impermissibly suggestive procedures. Manson v.
Braithwaite, 432 U.S. 98, 113, 116 (1977). Identification procedures where police show a witness
a single suspect are typically and inherently unduly suggestive. See United States v. Nieves, No.
19 Cr. 354 (JSR), 2021 WL 1240472, at *4 (finding identification from a single photographic
display non-confirmatory and unduly suggestive); United States v. Turner, No. 18 Cr. 68 (ALC),
2023 WL 1364888, at *8 (S.D.N.Y. Jan. 31, 2023) (finding a witness identification from
surveillance video of a single individual to be a “suggestive show up identification procedure”),
quoting Brisco v. Ercole, 565 F.3d 80, 89 (2d Cir. 2009) (“a ‘show up’ procedure is inherently
suggestive because it involves the presentation of a single suspect to a witness by the police ...”).
The Second Circuit has “ ‘consistently condemned the exhibition of a single photograph as a
suggestive practice, and where no extenuating circumstances justify the procedure, as an
unnecessarily suggestive one.’ ” Id., citing Wiggins v. Greiner, 132 F. App'x 861, 865 (2d Cir.
2005) (quoting Mysholowsky v. People, 535 F.2d 194, 197 (2d Cir.1976)).

        For the same reasons, Officer Whelan’s identification of Mr. Kelly as the person in the
stairwell on the day of this charged robbery should be precluded as unduly suggestive. The facts
as recited by the government support this argument.

        According to the government, when 48th Precinct suspects are depicted on video,
investigating officers in the precinct “typically … ask around the precinct” to see whether they are
known to any of the officers. See Def. Opp. at 6. Thus, it is clear that officers in the precinct are
aware of this practice and know that one of their colleagues may ask them to participate in
identification procedures to increase the rate of arrest in their precinct.

        Here, on January 25, 2023, true to practice, Detective Pedro Silverio showed the stairwell
videos to several of his co-workers, and, allegedly, “more than one said it looked like James Kelly.”
Detective Silverio then looked up Mr. Kelly’s information in the NYPD system and learned that
Officer Whelan had previously arrested Mr. Kelly. Detective Silverio called Officer Whelan to his
office and informed him that he was going to show him some videos to see if he recognized
someone he had previously arrested. As the government concedes – that was Mr. Kelly.
Purportedly, Officer Whelan was not informed why Det. Silverio was showing him the videos, had
not heard the chatter in the Precinct that it was Mr. Kelly on the videos, and was wholly unaware
of suggestive identification procedures routinely being implemented in the precinct. There is only
one person depicted in the stairwell videos, and Officer Whelan identified that person as Mr. Kelly.
Evidently, there is no record of how long Officer Whelan watched the videos, how many videos
he was shown, and for how long he viewed them. Nor is there any indication whether he paused
or rewound the videos. Because of the highly suggestive manner in which this identification was
made, any in-court identification of Mr. Kelly by Officer Whelan is tainted and should not be
admitted at a trial where the only issue before the jury is one of identification.

        The government attempts to sanitize this unduly suggestive identification procedure by
characterizing it as “confirmatory.” See government’s opposition to defense motions in limine
(ECF No. 58, “Govt Opp.”) at 10 – 12. But it was not. An identification is confirmatory where
the witness has previously indicated to law enforcement that he knows the perpetrator. See e.g.
United States v. Jimenez, No. 20 CR 122-LTS, 2020 WL 7231062, at *2 (S.D.N.Y. Dec. 8, 2020).
But the precise opposite is the case here: Officer Whelan did not previously indicate to the
investigating detective that he knew the person in the stairwell; in fact, the detective showed
Officer Whelan the videos to determine whether he would be able to identify the person depicted
therein. Cf. United States v. Nieves, No. 19 Cr. 354 (JSR), 2021 WL 1240472, at *4 (finding
identification from a single photographic display unduly suggestive because it occurred before the
witness indicated that he could recognize the suspect). Because of the unduly suggestive nature of
the January 25, 2023, identification procedure, no in-court identification by Officer Whelan should
be permitted.


   II.     Admitting Evidence Officer Whelan’s In-Court Identification Would Cause
           Unfair Prejudice Which Substantially Outweighs Its Probative Value.

       As the defense set forth in its motion in limine to preclude Officer Whelan from identifying
Mr. Kelly at trial (ECF No. 46), Officer Whelan’s identification of Mr. Kelly as the person in the
stairwell of his own apartment building offers no additional probative evidence to the jury while
carrying the risk of great prejudice. It also raises serious Confrontation Clause issues.

        The government argues that the in-court identification should be admitted because “it is
nevertheless ‘independently reliable’ based on the totality of the circumstances.” Govt Opp. at 9.
However, if the identification is admitted at trial, Mr. Kelly would be forced to choose between
two evils: allow the identification into evidence unchallenged or cross-examine the officer as to
the circumstances of his arrest as well as the identification procedure itself.

       For example, were Mr. Kelly to elicit that Officer Whelan had arrested him for a crime
with which he was never charged, the government will no doubt argue that the defense has opened
the door to evidence concerning the December 2022 robbery. If Mr. Kelly forgoes cross-
examining the Officer on the circumstances of their meeting, the jury will be left with the
impression that Mr. Kelly is particularly memorable in a negative way, and Mr. Kelly will be
unable to challenge the Officer’s credibility. See Def. Opp. at 6.




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        Regarding the identification procedure, the same questions raised in the defense opposition
remain: to how many officers did Det. Silverio show the videos? Did he show them individually
to each officer, or did he circulate the videos for officers to watch at their leisure? Did anyone view
them outside his presence? How many said they didn’t know who was depicted in the videos,
though Mr. Kelly was supposedly “known to the precinct?” Did any of them indicate that the
suspect didn’t look like James Kelly? Or that the suspect resembled someone else? Did officers
discuss the videos amongst themselves? Did Det. Silverio continue showing the videos to officers
until he found one that, in his opinion, “seemed confident” that Mr. Kelly was indeed depicted
therein? Were the previous officers who mentioned Mr. Kelly by name not confident enough? Did
Det. Silverio show the videos to the arresting officer for the October 10, 2021 robbery, or to any
other arresting officers before or after showing them to Officer Whelan? Why or why not? See
Def. Op. at 6.

       Obviously, the significant cross-examination essential to questioning this identification
would dangerously imperil Mr. Kelly’s fair trial right because it will reveal that Mr. Kelly has
frequently been arrested by officers of this Precinct in the past, including arrests for robberies.
That harm too, cannot be cured by a limiting or curative instruction.

        Additionally, the stairwell videos provide clear and unobstructed views of the person’s
face: the jury can view the video and view Mr. Kelly and decide whether it is he or not. Indeed,
the jury will have observed Mr. Kelly for the duration of the trial and be provided access to the
stairwell videos during their deliberations. After only having observed Mr. Kelly on a single
occasion, several weeks prior to viewing the stairwell videos, Officer Whelan is not uniquely
situated to do so. Conversely, even in the sanitized form the government seeks to offer, that Officer
Whelan spent 25 minutes with Mr. Kelly on an evening in December 2022, the jury inevitably will
speculate as to why, and Mr. Kelly will be hamstrung in his cross-examination. No curative or
limiting instruction will solve the constitutional error.

       Finally, Officer Whelan taking the stand and describing his 25-minute encounter with Mr.
Kelly close in location to where the charged robbery took place will assume a disproportional
importance to the jury as testimony of law enforcement. United States v. Walker, 974 F.3d 193,
205 (2d Cir. 2020) (quoting United States v. Pierce, 136 F.3d 770, 776 (11th Cir. 1998). Courts
have acknowledged the high risk of unfair prejudice to the defendant when identification testimony
comes from a law enforcement or corrections officer. See Pierce, 136 F.3d 770; United States v.
Henderson, 68 F.3d 323, 327 (9th Cir.1995); United States v. Calhoun, 544 F.2d 291, 296 (6th
Cir. 1976). After all, the question of identification falls squarely within the province of the jury,
of course – and no juror should substitute a police officer’s opinion on that subject over his or her
own judgment.




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                                         Conclusion

       For the reasons set forth above, and in his accompanying filings, Mr. Kelly respectfully
submits that the Court should preclude Officer Whelan’s in-court identification of Mr. Kelly.

Dated: December 1, 2023
       New York, New York

                                                       Respectfully Submitted,


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